                                   UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF OREGON


In re                                        )   Case No.    19-34037-pcm12
                                             )
 Eric L. Silva,                              )   Notice of Application for
                                             )   (Mark One)      Initial
                                             )                    Supplemental/Additional
                                             )   Compensation for Chapter 12
Debtor(s)                                    )   Debtor(s)’ Attorney

The debtor(s)' attorney named below has applied for compensation from debtor(s)’ estate as marked
above for legal services rendered in the sum of $ 36,150.51         ; now, therefore,

NOTICE IS GIVEN that the debtor(s)’ attorney may submit an order allowing the compensation requested
above unless, within 21 days of the service date below, an interested party:

    1) Files a written objection, setting forth the specific grounds for the objection, with the clerk at 1050
       SW 6th Ave. #700, Portland OR 97204 or 405 E 8th Ave. #2600, Eugene OR 97401, and

    2) Serves the objection on the debtor(s)’ attorney, the U.S. Trustee, and the trustee
       ___________________________,
       Virginia Andrews Burdette      whose service address is ____________________________
       ______________________________________________________________________________.
       5506 6th Ave S #207, Seattle, WA 98108

 Unless an order is submitted and signed, the trustee will not pay the requested compensation.

                                              Nicholas J. Henderson
                                              Type or Print Debtor's Attorney's Name
                                              117 SW Taylor St Suite 300
                                              Attorney's Service Address
                                              Portland OR 97204

                                              503-417-0508
                                              Telephone Number

I certify that on 12/14/2020 this notice and Local Bankruptcy Form (LBF) 1214 were served on the
debtor(s), trustee, and U.S. Trustee; and this notice was served on the attached list of creditors as
required by Federal Rule of Bankruptcy Procedure (FRBP) 2002(a)(6) or FRBP 2002(h).

                                                 Nicholas J. Henderson
                                                 Signature of Party Giving Notice

                                                 Of Attorneys for Debtor
                                                 Signer's Relationship to Applicant
1214.5 (12/1/2018)

                          Case 19-34037-pcm12          Doc 191      Filed 12/14/20
Label Matrix for local noticing            AG Direct                                       JASON M AYRES
0979-3                                     PO Box 2409                                     Foster Garvey P.C.
Case 19-34037-pcm12                        Omaha, NE 68103-2409                            121 SW Morrison Street
District of Oregon                                                                         Suite 1100
Portland                                                                                   Portland, OR 97204-3141
Mon Dec 14 14:44:19 PST 2020
Aargon Agency Inc                          All West Select Sires                           Alta Genetics
Attn: Bankruptcy                           PO Box 507                                      PO Box 437
8668 Spring Mountain Road                  Burlington, WA 98233-0507                       Watertown, WI 53094-0437
Las Vegas, NV 89117-4132


Alta Genetics USA Inc.                     American Jersey Cattle Association              Androgenics
1 - 263090 Range Rd 11                     6486 E. Main Street                             PO Box 183
Rocky View County, AB                      Reynoldsburg, OH 43068-2362                     Oakdale, CA 95361-0183
T4B 2T3


Avrell Trucking                            (p)BANK OF AMERICA                              Bank of America, N.A.
PO Box 417                                 PO BOX 982238                                   P O Box 982284
Tillamook, OR 97141-0417                   EL PASO TX 79998-2238                           El Paso, TX 79998-2284



Beaver Water District                      Boverman & Assoc.                               Boverman & Associates, LLC
PO Box 306                                 c/o Dan Boverman                                Daniel Boverman
Cloverdale, OR 97112-0306                  11285 SW Walker Road                            11285 SW Walker Rd
                                           Portland, OR 97225-4461                         Portland, OR 97225-4461


Boyd’s Implement Service, LLC              Burden’s Muffler and Towing                     Virginia   Andrews Burdette
2850 Latimer Rd.                           10 Main Ave.                                    Virginia   Andrews Burdette, Trustee
Tillamook, OR 97141-9014                   Tillamook, OR 97141-2316                        P.O. Box   16600
                                                                                           Seattle,   WA 98116-0600


Butch Katen                                CHS Inc.                                        CHRISTOPHER N COYLE
11165 Trask River                          5500 Cenex Drive                                319 SW Washington St #520
Tillamook, OR 97141-9668                   Inver Grove Heights, MN 55077-1721              Portland, OR 97204-2690



Calf Start LLC                             Carrington Management                           Carrington Mortgage Services
Robert J. Schell                           PO Box 5001                                     Attn: Bankruptcy
203 1st Ave. SE                            Westfield, IN 46074-5001                        PO Box 3730
Altura, MN 55910-8519                                                                      Anaheim, CA 92803-3730


Carrington Mortgage Services, LLC          Carsen Oil                                      Chase Auto Finance
1600 South Douglass Road                   3125 NW 35th Ave.                               Attn: Bankruptcy
Anaheim, CA 92806-5951                     Portland, OR 97210-1637                         Po Box 901076
                                                                                           Fort Worth, TX 76101-2076


(p)JPMORGAN CHASE BANK N A                 Citibank                                        Coastwide Ready Mix
BANKRUPTCY MAIL INTAKE TEAM                Attn: Recovery/Centralized Bankruptcy           PO Box 8
700 KANSAS LANE FLOOR 01                   Po Box 790034                                   Tillamook, OR 97141-0008
MONROE LA 71203-4774                       St Louis, MO 63179-0034

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Country Financial                                 Craig Russillo                                   Creative Genetics of CA Inc
1701 N Towanda Ave.                               Schwabe Williamson Wyatt                         PO Box 755
Bloomington, IL 61701-2057                        1211 SW Fifth Ave., Suite 1900                   Oakdale, CA 95361-0755
                                                  Portland, OR 97204-3719


DARREN J DEVLIN                                   DLL Finance LLC                                  David & Kelli Shanks
5677 Oberlin Drive                                Attn: Bankruptcy                                 PO Box 152
Ste 210                                           Po Box 2000                                      Bend, OR 97709-0152
San Diego, CA 92121-1742                          Johnston, IA 50131-0020


David N. Hodson, Jr.                              DeLaval Dairy Service, a division of DeLaval     Deere & Company d/b/a John Deere Financial
18255 SW Tualatin Valley Hwy                      c/o NCS                                          PO BOX 6600
Aloha, OR 97003-3951                              729 Miner Road                                   Johnston, IA 50131-6600
                                                  Highland Heights, OH 44143-2117


Delaval                                           Diversified Financial Services, LLC              MARJORIE A ELKEN
3675 Brooklake Rd.                                Leslie S. Johnson, Esq.                          Buckley Law P.C.
Salem, OR 97303-9750                              111 SW 5th Ave., Suite 3800                      5300 Meadows Road
                                                  Portland, OR 97204-3642                          Suite 200
                                                                                                   Lake Oswego, OR 97035-8225

Elanco                                            Eric L Silva                                     Ernst Irrigation
28576 Network Place                               203 1St Ave SE                                   20179 Main St. NE
Chicago, IL 60673-1285                            Altura, MN 55910-8519                            Saint Paul, OR 97137-9637



Estate of Marian N. Bell                          EMILY S.B. FULLERTON                             Fairview Trucking Co.
c/o Kevin Smith, Personal Representative          Schwabe, Williamson & Wyatt P.C.                 7725 Trask River Rd
3318 Blanchet Ave. NE                             1211 SW Fifth Avenue                             Tillamook, OR 97141-8849
Saint Paul, OR 97137-9609                         Suite 1900
                                                  Portland, OR 97204-3719

Fairview Trucking Company                         (p)FARM CREDIT SERVICES OF AMERICA               Fed Ex
Buckley Law PC                                    PO BOX 2409                                      PO Box 7221
5300 Meadows Rd Ste 200                           OMAHA NE 68103-2409                              Pasadena, CA 91109-7321
Lake Oswego, OR 97035-8225


Feeds LLC                                         G3 Electric                                      Genex Cooperative Inc.
PO Box 48                                         25855 Chinook St.                                PO Box 469
Rickreall, OR 97371-0048                          Cloverdale, OR 97112-9547                        Shawano, WI 54166-0469



NICHOLAS J HENDERSON                              IRS                                              JLG Enterprises
Motschenbacher & Blattner, LLP                    PO Box 7346                                      PO Box 13575
117 SW Taylor Street                              Philadelphia PA 19101-7346                       Oakdale, CA 95361
Ste 300
Portland, OR 97204-3029

LESLIE S JOHNSON                                  JPMorgan   Chase Bank, N.A.                      JoAnn K. Beck
Samuels Yoelin Kantor LLP                         National   Bankruptcy Department                 330 N. Third Street
111 SW 5th Ave                                    P.O. Box   29505 AZ1-5757                        Woodburn, OR 97071-4602
Suite 3800                                        Phoenix,   AZ 85038-9505
97204
Portland, OR 97204-3604                    Case 19-34037-pcm12            Doc 191       Filed 12/14/20
(p)DEERE CREDIT SERVICES INC                       Ken Hale                                       Kevin Smith and Greg Brown
ATTN LITIGATION & RECOVERY DEPARTMENT              8205 Tippin Road                               c/o Saalfeld Griggs PC
PO BOX 6600                                        Tillamook, OR 97141-9600                       Attn: Erich M. Paetsch
JOHNSTON IA 50131-6600                                                                            250 Church Street SE, Suite 200
                                                                                                  Salem, OR 97301-3921

Key Bank NA                                        Key Bank NA                                    KeyBank National Association
Attn: Bankruptcy                                   Attn: Christopher M. Gorman, President         c/o Craig Russillo
4910 Tiedeman Road                                 127 Public Square                              1211 SW 5th Avenue 19th Floor
Brooklyn, OH 44144-2338                            Cleveland, OH 44114-1226                       Portland, OR 97204-3735


Keybank NA                                         Kubota Credit Corp                             Kubota Credit Corporation
Key Bank; Attention: Recovery Payment Pr           Attn: Bankruptcy                               PO Box 9013
4910 Tiedeman Road (Routing Code: 08-01-           PO Box 2046                                    Addison, Texas 75001-9013
Brooklyn, OH 44144-2338                            Grapevine, TX 76099-2046


LES SCHWAB TIRE CENTERS OF PORTLAND, INC.          Lebanon Auction Yard, Inc.                     Lincoln Financial Group
PO BOX 5350                                        37063 Kgal Drive                               One Granite Place
BEND, OR 97708-5350                                Lebanon, OR 97355-9631                         Concord, NH 03301-3271



Marilyn Phegley                                    Marjorie Elken                                 Mathew W. Lauritsen
2211 Third Street, Suite B                         Buckley Law PC                                 Kell, Alterman & Runstein, LLP
Tillamook, OR 97141-2444                           5300 Meadows Road, Suite 200                   520 SW Yamhill St., Suite 600
                                                   Lake Oswego, OR 97035-8225                     Portland, OR 97204-1329


Matt Hill                                          Micro Technologies                             Mike Schneider Cattle Hauling
804 Mineral Ave.                                   PO Box 847268                                  PO box 1263
Libby, MT 59923-1923                               Dallas, TX 75284-7268                          Tillamook, OR 97141-1263



Nathan Jensen                                      Nestucca Valley Sanitary Services              ODR Bkcy
23220 Blaine Rd                                    520 SW Yamhill St.                             955 Center St NE
Beaver, OR 97108-9728                              Suite 600                                      Salem, OR 97301-2555
                                                   Portland, OR 97204-1329


Old American County Mutual Insurance               Oregon Department of Revenue                   Oregon Department of Transportation
PO Box 793747                                      ODR Bkcy                                       1905 Lana Avenue NE
Dallas, TX 75379-3747                              955 Center NE, #353                            Salem, OR 97314-5000
                                                   Salem, OR 97301-2555


Oregon Dept of Agriculture CAFO                    Oregon Employment Department                   Oregon Farm Bureau
635 Capitol St NE                                  875 Union St NE Room 107                       1320 Capital St. NE, Suite 200
Salem, OR 97301-2568                               Salem, OR 97311-0800                           Salem, OR 97301-7869



ERICH M PAETSCH                                    PHI Financial                                  PHI Financial
POB 470                                            PO Box 1050                                    Wexford & James Affiliate of Altus Mgmt
Salem, OR 97308-0470                               Johnston, IA 50131-9415                        2910 Westown Pkwy #102
                                                                                                  West Des Moines IA 50266-1308

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Paula Wolf                                      Purina Animal Nutrition                        CRAIG G RUSSILLO
c/o Christopher N Coyle                         c/o Jonathan Miesen                            1211 SW 5th Ave #1600-1900
Vanden Bos & Chapman LLP                        4100 Lexington Ave. North                      Portland, OR 97204-3795
319 SW Washington St #520                       Arden Hills, MN 55126-4003
Portland, OR 97204-2620

Randy’s Dairy Repair                            Revolution Genetics                            Richard Veeman
8120 S Prairie Rd.                              PO Box 1375                                    dba Veterinary Services of Oregon
Tillamook, OR 97141-8536                        Oakdale, CA 95361-1375                         18050 NE Ribbon Ridge Rd.
                                                                                               Newberg, OR 97132-6535


Rosecrans Dairy Consulting                      BRANDY SARGENT                                 TARA J SCHLEICHER
PO Box 640                                      K&L Gates LLP                                  Foster Garvey P.C.
Yamhill, OR 97148-0640                          1 SW Columbia St                               121 SW Morrison
                                                Ste 1900                                       11th Floor
                                                Portland, OR 97258                             Portland, OR 97204-3141

TROY SEXTON                                     GADI SHAHAK                                    ST Genetics
Motschenbacher & Blattner, LLP                  Janeway Law Firm, LLC                          125 Taurus LN
117 SW Taylor St                                1499 SE Tech Center Place                      Mehoopany, PA 18629
Ste 300                                         Ste 255
Portland, OR 97204-3029                         Vancouver, WA 98683-5550

Shirkar Farms                                   Eric L Silva                                   TCCA Farm Store
PO box 463                                      26755 Blankenship Rd.                          4 Iva Ave.
Tillamook, OR 97141-0463                        Beaver, OR 97108-9734                          Tillamook, OR 97141



Tara Schleicher                                 (p)TILLAMOOK COUNTY TAX COLLECTOR              Tillamook County Creamery Assoc.
Foster Garvey                                   201 LAUREL AVE                                 c/o Patrick Critseser, Reg. Agent
121 SW Morrison St., 11th Floor                 TILLAMOOK OR 97141-2381                        4185 Highway 101 N
Portland, OR 97204-3141                                                                        Tillamook, OR 97141-7770


Tillamook County Tax Assessor                   Tillamook Dairy Herd Improvement Associa       Tillamook People’s Utility District
201 Laurel Ave.                                 2306 10th St.                                  PO Box 433
Tillamook, OR 97141-2381                        Tillamook, OR 97141-4017                       Tillamook, OR 97141-0433



Tillamook Soil & Water Conservation Dist 400    Tillamook Tire Service Inc.                    US Jersey
Blimb Blvd., Suite 200                          PO Box 278                                     6486 E Main Street
Tillamook, OR 97141                             Tillamook, OR 97141-0278                       Reynoldsburg, OH 43068-2493



US Trustee, Portland                            Verizon Wireless                               Veterinary Pharmaceuticals
620 SW Main St #213                             PO Box 660108                                  13159 13th Road West
Portland, OR 97205-3026                         Dallas, TX 75266-0108                          Hanford, CA 93230-9666



Veterinary Services of Oregon                   Viasat                                         WW Feeds, LLC
PO Box 301                                      6155 El Camino                                 P.O. Box 48
Newberg, OR 97132-0301                          Carlsbad, CA 92009-1602                        Rickreall, OR 97371-0048


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(p)WELLS FARGO BANK NA                                Wells Fargo Bank, N.A.                               Wells Fargo Bank, N.A.
1 HOME CAMPUS                                         435 Ford Road, Suite 300                             Small Business Lending Division
MAC X2303-01A                                         St. Louis Park, MN 55426-4938                        P.O. Box 29482
DES MOINES IA 50328-0001                                                                                   MAC S4101-08C
                                                                                                           Phoenix, AZ 85038-9482



                    The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                    by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Bank Of America                                       Chase Card Services                                  Farm Credit Services of America, PCA
Attn: Bankruptcy                                      Attn: Bankruptcy                                     P.O. Box 2409
Po Box 982238                                         Po Box 15298                                         Omaha, NE 68103
El Paso, TX 79998                                     Wilmington, DE 19850


(d)Farm Credit/agdirect                               (d)JP Morgan Chase                                   John Deere Financial, f.s.b.
Po Box 2409                                           PO Box 901038                                        d/b/a John Deere Financial
Omaha, NE 68103                                       Fort Worth, TX 76101                                 PO BOX 6600
                                                                                                           Johnston, IA 50131


Tillamook County Assessment & Taxation                Wells Fargo Bank
201 Laurel Ave.                                       Attn: Bankruptcy Dept
Tillamook, OR 97141                                   Po Box 6429
                                                      Greenville, SC 29606




                  The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)All Star Appliance                                 (u)Boverman & Associates, LLC                        (u)Deutsche Bank/Carrington Mortgage
2111 Third St.
NJ 07141



(u)Diversified Financial Services, LLC                (u)Estate of Marian Bell                             (u)Fairview Trucking Company




(u)Isedro Alves                                       (u)KeyBank National Association                      (d)Kubota Credit Corp
                                                                                                           Attn: Bankruptcy
                                                                                                           Po Box 2046
                                                                                                           Grapevine, TX 76099-2046


(u)Kubota Credit Corporation                          (u)Nationwide Life Insurance                         (d)ODR Bkcy
                                                      1209 Orange Street                                   955 Center St NE
                                                      TX 79801                                             Salem OR 97301-2555


                                          Case 19-34037-pcm12                 Doc 191     Filed 12/14/20
                                     UNITED STATES BANKRUPTCY COURT
                                           DISTRICT OF OREGON

In re                                         )            19-34037-pcm12
                                                  Case No. _______________
                                              )
Eric L. Silva                                 )   APPLICATION FOR CHAPTER 12
                                              )   (Mark One)  INITIAL
                                              )              SUPPLEMENTAL/ADDITIONAL
                                              )   COMPENSATION OF ATTORNEY
Debtor(s)                                     )   FOR DEBTOR

       The applicant, _________________________________________________________________,
                      Motschenbacher & Blattner, LLP                                               by and
through the undersigned, pursuant to 11 USC §331 and LBR 2016-1, applies for compensation as marked above
                       3/10/20
for the period from __________ to __________,
                                     12/12/20    and certifies the following is true and correct:

    1. The following pre-filing compensation has been received in connection with this case (indicate date,
amount, payer, payer's relation to case, and description for all monies and any other consideration received):
Debtor paid a retainer in the amount of $20,000 on September 19, 2019. $12,213.00 applied on October 31, 2019
for prefiling services. Balance of retainer ($7,787) was applied to account following confirmation and approval of
Application for Chapter 12 Initial Compensation of Attorney for Debtor.




                                                                                  34,485
     2. Applicant requests allowance of compensation for: Legal Services of $________________; Expenses
         1,665.51
of $________________;                      36,150.51
                       for a Total of $________________.

        3. Applicant's prior requests for compensation in this case are as follows:

 Date of                 Amount                        Amount                        Amount              Payment
Application             Requested                      Allowed                      Received              Source
                    Fees     Expenses             Fees      Expenses           Fees      Expenses
 3/13/20         79,090.00      1,966.45      78,957.50       1,966.45       52,631.00         0.00     Retainer &
                                                                                                          Trustee




NONE

TOTALS: $__________
            79,090.00 $__________
                          1,966.45 $__________
                                       78,957.50 $__________
                                                     1,966.45 $__________
                                                                  52,631.60 $__________
                                                                                    0.00


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     4. Applicant has not shared or agreed to share any compensation received or to be received for services
rendered in connection with this case, except with a regular member, partner or associate of Applicant's firm.

     5. The rate of compensation, number of hours and requested fee for each person included in this application
are summarized as follows:

  Timekeeper                                                               Hourly          Number          Requested
(name & initials)                         Title                             Rate           Of Hours          Fee
Nicholas Henderson                       Partner                           425.00         57.4              $24,395.00
Troy Sexton                              Associate                         350.00         27.70              $9,310.00
Mary Perry                               Legal Assistant                   150.00         5.2                 $780.70




     6. Attached and incorporated herein by reference are the following schedules (check those that apply):

         Schedule A - A narrative summary of services provided including total hours and resulting benefits to the
         estate of each activity category. [Preferred, but only mandatory if application exceeds $3,000.]

         Schedule B - [If this is the Initial Application for Compensation] A brief narrative and itemization detailing
         all case related PRE-PETITION fees. [Itemization mandatory; narrative mandatory if compensation
         requested in the application exceeds $3,000.]

         Schedule C - An itemized billing setting forth a description of each event, including the date, amount of
         time spent, and name of the person performing each event. [Mandatory]

      7. Applicant's expense reimbursement requests do not exceed the sums specified in LBR 2016-1, except
to the extent specifically explained below:

Not applicable.




      8. On __________
                12/14/20 copies of this Application, all attachments thereto, and the required Notice of Application
[prepared on Local Form #1214.5] were served on the debtor(s), trustee, and U.S. Trustee; and a separate copy
of only the Notice was served on all creditors if required by FRBP 2002(a)(6) (or if original time to file claims has
expired, only on creditors who filed claims and entities that filed a request to receive all case notices).


     DATED: __________
             12/14/20                                  /s/ Nicholas J. Henderson
                                                       _______________________________________________
                                                       Signature
                                                       _______________________________________________
                                                       Nicholas J. Henderson, (503) 417-0508
                                                       Signer's Name and Phone #
                                                       117 SW Taylor St Ste 300 Portland OR 97204
                                                       _______________________________________________
                                                       Address
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                                         Schedule A
                                 Summary of Activity Categories
                                         Eric L. Silva
                                   Case No. 19-34037-pcm12


1. General Bankruptcy Matters.                                                Hours: 22.6
This activity category includes all services of a miscellaneous nature which do not fit specifically
into a more defined activity category. It includes such activities as receiving calls from creditors
in the case, telephone calls from various other attorneys or interested parties, review of the
monthly reports, review of various pleadings, etc.

2. Reporting. Hours:                                                       Hours: 12.1
This activity category includes the time spent preparing and responding to issues surrounding the
Debtor’s monthly reporting obligations.

3. Plan Confirmation and Postconfirmation Amendment of Plan.                Hours: 45.9
This activity category includes the time spent on negotiating with secured creditors and the
preparation and execution of plan confirmation and postconfirmation amendments of the plan.

4. Employment and Fee Applications.                                          Hours: 7.1
This activity category includes the time spent related to preparing and filing fee applications.

TOTAL HOURS: 87.7




{00398954:1}


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Timekeeper Date        Rate   Hours   Charge   Description
                                               Telephone call from M. Comstock regarding change to interest rate for Farm Credit (0.2); re‐
                                               calculate payment waterfall for plan, and draft OCP and continuation statement (1.0); email to V.
                                               Burdette regarding payment calculations and potential settlement with KeyBank (0.2); emails
                                               to/from client regarding CAFO permit (0.2); emails to/from M. Comstock regarding TCCA
NJH        3/10/2020   $425   1.8     $765     treatment in Plan (0.2).
                                               Review email and attachment from P. Ferreira regarding tax garnishment and bill from IRS (0.2);
                                               conference with T. Sexton regarding recovery of garnished funds (0.2); telephone call from R.
                                               Goss regarding potential settlement on plan and Boverman claim objection (0.5); email to client
NJH        3/11/2020   $425   1.2     $510     regarding same (0.3).
TGS        3/12/2020   $350   0.5     $175     Call with IRS regarding garnishment issues and claim.
TGS        3/12/2020   $350   1.6     $175     Prepare application for attorneys fees (reduced charge to 0.5 hours).
TGS        3/12/2020   $350   0.8     $280     Filed 8 proofs of claim for Tillamook County.


                                               Email to/from client regarding ODR demand letter (0.1); telephone call to client regarding same,
                                               and regarding proposed KeyBank settlement offer (0.5); email to R. Goss regarding same (0.2);
                                               telephone call from R. Goss regarding terms of settlement for confirmation order (0.4); continue
                                               drafting proposed confirmation order (1.3); email to R. Goss and V. Burdette regarding proposed
                                               form of order (0.2); email to B. Sargent regarding same (0.2); emails to/from V. Burdette
                                               regarding potential objection to KeyBank treatment (0.2); review case law regarding pay direct
                                               language (0.5); re‐calculate plan amortization (0.3); telephone call to E. Silva regarding CAFO
                                               permit issues with land sale (0.2); email to A. Macias regarding CAFO permit (0.2); follow‐up call
NJH        3/12/2020   $425   4.8     $2,040   from R. Goss regarding KeyBank plan treatment and potential changes to settlement (0.5).
                                               Work on farm budget report (0.6); work on weekly cash report (0.5); prepare application for
TGS        3/13/2020   $350   1.6     $560     attorneys fees(0.5).
MEP        3/13/2020   $150   0.3     $45      Revise fee entries for application for attorney's fees, per T. Sexton.


                                               Emails to M. Phegley and P. Ferreira regarding 2018 tax returns (0.2); emails to/from V. Burdette
                                               regarding commission and plan calculations (0.2); revise plan amortization schedule with updated
                                               commission information and KeyBank treatment (0.5); telephone call to R. Goss regarding same
                                               (0.5); revise proposed confirmation order (0.9); telephone call to C. Coyle regarding update (.02);
                                               telephone call to M. Comstock regarding same (0.2); emails to/from T. Schleicher, R. Goss, C.
                                               Russillo, V. Burdette, B. Sargent regarding same (0.5); telephone call to B. Sargent regarding
                                               revise language for OCP, left message (0.1); lengthy email to B. Sargent regarding revised OCP and
                                               plan analysis (0.4); emails from T. Schleicher and R. Goss regarding comments to OCP (0.3); follow‐
                                               up telephone call from R. Goss regarding OCP and plan treatment, settlement with Boverman
                                               (0.4); further revisions to OCP and continuation statement (0.5); email to R. Goss and T.
NJH        3/13/2020   $425   5.3     $2,253   Schleicher regarding same (0.3); telephone call to V. Burdette regarding update (0.1).
MEP        3/16/2020   $150   0.3     $45      Draft and file amended application for compensation; serve on required parties.

                                               Emails to/from B. Fetherston regarding proposed OCP and hearing (0.2); telephone call from B.
                                               Fetherston regarding same (0.2); telephone call from V. White at AJCA regarding claim and
                                               hearing (0.2); emails from/to V. Burdette regarding letter from ODA regarding CAFO (0.2); email
                                               and telephone call from B. Sargent regarding change to OCP for ASL Claims (0.3); telephone call to
                                               client regarding CAFO and proposed change to OCP (0.4); email to V. Burdette regarding CAFO
                                               issue (0.2); revise OCP regarding same (0.3); email to E. Paetsch regarding revised OCP (0.2);
                                               telephone call from R. Goss regarding update (0.2); follow‐up telephone call to client regarding
                                               hearing preparation and exhibit (1.0); email to S. Smith regarding exhibit (0.1); attend
                                               confirmation hearing (0.7); email to C. Coyle regarding payment issues (0.2); revise OCP regarding
NJH        3/16/2020   $425   4.9     $2,083   comments at hearing (0.3); email to all parties regarding final OCP for comment (0.2).
                                               Telephone call from C. Coyle regarding questions about OCP and KeyBank amended note; email
                                               to R. Goss regarding same; email from E. Paetsch regarding confirmation order; email to E.
                                               Paetsch regarding same; email from T. Schleicher regarding OCP question; email to T. Schleicher
NJH        3/17/2020   $425   0.5     $213     regarding same.
NJH        3/18/2020   $425   0.2     $85      Email from V. Burdette regarding insurance policy; email to client regarding same.
MEP        3/19/2020   $150   0.1     $15      Review record of hearing; docket deadlines.
                                               Compile documents and email to M. Kittell and D. Ray regarding title objections; email to M.
NJH        3/23/2020   $425   0.4     $170     Kittell and D. Ray regarding confirmation order.




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                                         Review title objection email from M. Kittell (0.1); review title report (0.2); email to M. Kittell and
                                         d. Ray regarding clearing objections (0.2); emails to/from V. Burdette regarding confirmation
                                         order (0.2); emails from/to R. Goss regarding confirmation order, promissory note and lien
NJH      3/24/2020   $425   0.9   $383   releases for Blaine Property sale (0.2).
                                         Telephone conference with N. Henderson regarding fee application and trustee questions; emails
TGS      3/24/2020   $350   0.5   $175   with trustee regarding same.
                                         Serve order confirming plan and resolving motions on required parties; draft and file certificate of
MEP      3/30/2020   $150   0.2   $30    service regarding the same.
                                         Email from V. Burdette regarding ODR proof of claim (0.1); review claim and draft tax return from
                                         CPA (0.2); email to V. Burdette regarding same (0.1); review email from B. Fetherston regarding
                                         milk check assignments and OCP (0.1); review Order and email to B. Fetherston regarding same
                                         (0.2); email to client and P. Ferreira regarding same (0.2); email to M. Kittell regarding update on
NJH      3/31/2020   $425   1.1   $468   property sale (0.2).
                                         Emails from/to client regarding April plan payments, milk check assignments, possible
                                         modification of plan, and sale of Blaine Rd. property (0.3); email to D. DuBois regarding Tillamook
                                         milk check (0.2); telephone call to C. Coyle regarding April payment and sale of Blaine property
NJH      4/2/2020    $425   1     $425   (0.3); emails to R. Goss regarding KeyBank lien releases (0.2).
                                         Telephone conference with IRS regarding garnishment and claim issues (0.4); review ODR proof
                                         of claim (0.3); telephone conference with N. Henderson regarding fee application (0.3); work on
TGS      4/8/2020    $350   1.9   $665   fee itemization and order approving fees (0.9).
                                         Review itemization and proposed order on fees; conference with staff regarding revisions and
NJH      4/9/2020    $425   0.2   $85    filing.
TGS      4/10/2020   $350   1.6   $560   Prepare monthly report.
MEP      4/10/2020   $150   0.3   $45    Prepare March monthly operating report.
                                         Numerous emails to/from client and counsel for secured creditors regarding amended plan.
                                         Telephone calls to/from client regarding same. (No charge).” Make it a printable/non‐billable line
NJH      4/13/2020   $425   1.2   $510   item.
                                         Emails with opposing counsel regarding operating report; review plan provisions regarding cattle
TGS      4/13/2020   $350   0.3   $105   sales.
                                         Telephone call to C. Coyle regarding proposed plan modification and potential treatment of
                                         'indemnity' claim (0.2); emails from/to D. Dubois regarding milk check payments (0.2); telephone
                                         call from client regarding update on sale of land, dropping milk prices and need for plan
NJH      4/14/2020   $425   0.8   $340   modification (0.4).
                                         Telephone call from R. Textor regarding schedules questions, garnishment and outstanding tax
                                         returns (0.5); telephone call to client regarding same, and regarding sale of Blaine property (0.5);
                                         emails to/from R. Goss regarding proposed modified plan (0.2); emails to/from M. Kittell and D.
                                         Ray regarding escrow issues and sale (0.2); draft lien release and email to C. Coyle regarding P.
NJH      4/16/2020   $425   1.9   $808   Wolf judgment lien (0.5).

                                         Telephone call to C. Coyle regarding replacement security interest for release of lien in property;
NJH      4/20/2020   $425   0.5   $213   email to client regarding updated farm budget and details about use of proceeds from sale.
TGS      4/21/2020   $350   0.3   $105   Telephone conference with Oregon Employment Department regarding garnishment.

                                         Email from B. Sargent regarding cattle sales (0.2); telephone call to B. Sargent regarding same
                                         (0.2); lengthy conference call with client and P. Ferraira regarding budget, amended plan (0.9);
                                         emails to/from D. Ray and R. Goss regarding settlement statement and sale (0.3); continue
NJH      4/23/2020   $425   1.2   $510   drafting security agreement (0.3); draft email to B. Sargent regarding cattle sales accounting (0.2).
TGS      4/23/2020   $350   0.3   $105   Telephone conference with Oregon Employment Department regarding claim.

                                         Complete review of Key Bank amended note (0.5); emails to/from to T. O'Neill at Tillamook
                                         regarding electronic notary (0.2); telephone call to C. Coyle regarding security agreement and
                                         subordination agreement (0.2); finalize drafting of same (0.5); email to C. Coyle regarding same
                                         (0.1); email to client regarding update and Security Agreement (0.2); emails to/from M. Kittell and
NJH      4/24/2020   $425   1.7   $723   D. Ray regarding escrow and sale closing(0.2).

                                         Finalize accounting for pre‐confirmation cattle sales and email to B. Sargent regarding same (0.5);
                                         emails from/to C. Coyle regarding Security Agreement (0.2); email to client regarding same (0.2);
                                         emails to/from N. Jensen and client regarding past due rent (0.2); telephone call from B. Sargent
                                         regarding feed purchase issue (0.2); telephone call to client regarding same (0.3); email to C.
                                         Coyle regarding signed Security Agreement (0.1); emails from M. Kittell, D. Ray and V. Johnson
NJH      4/27/2020   $425   1.9   $808   regarding escrow and closing issues (0.2).




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                                           Emails from/to R. Goss regarding subordination agreement and sale of Blaine Rd. (0.2); emails
                                           from/to C. Coyle regarding same (0.2); emails from/to D. Ray and M. Kittell regarding closing
NJH      4/28/2020   $425   1     $425     (0.2); telephone call to client regarding feed situation and amended plan (0.4).
                                           Emails from/to D. Ray regarding Wolf lien release (0.2); email to C. Coyle regarding same (0.1);
                                           emails to/from R. Goss regarding KeyBank lien release and cash collateral use (0.2); continue
                                           drafting amended Plan (1.5); email to client regarding same (0.2); telephone call to client
NJH      4/30/2020   $425   2.7   $1,148   regarding tax returns, amended plan and feed (0.5).
NJH      4/30/2020   $425   0.2   $85      Emails to/from T. Schleicher regarding modified plan.

                                           Emails from/to D. Dubois regarding milk check assignment and trustee payments (0.2); emails
                                           to/from M. Kittell regarding closing and potential leaseback issue (0.2); draft lease form (0.6);
NJH      5/1/2020    $425   1.4   $595     email to client regarding same (0.2); emails to D. Ray and C. Coyle regarding lien releases (0.2).
                                           Telephone call from C. Coyle regarding lien release; emails to.from D. Ray regarding same; email
NJH      5/4/2020    $425   0.5   $213     to client regarding revised Security Agreement.
                                           Emails from D. Ray regarding closing (0.2); emails and telephone call to V. Johnson (title officer)
                                           regarding same (0.3); telephone call to C. Coyle regarding closing issues and quit claim deed (0.2);
                                           email to V. Johnson regarding same (0.1); review draft letter from C. Coyle regarding same (0.1);
NJH      5/5/2020    $425   1     $425     email to C. Coyle regarding same (0.1).
MEP      5/8/2020    $150   0.2   $30      Draft withdrawal of claim objection regarding Boverman & Associates.

                                           Review client bank information (0.2); telephone call to client regarding amended plan and budget
NJH      5/11/2020   $425   1.3   $553     (0.6); draft email to client regarding same, and regarding payroll taxes, tax returns (0.5).
TGS      5/12/2020   $350   0.6   $210     Work on amendments to tax claims.
                                           Draft email to client regarding plan payments, updated budget, tax returns, and payroll tax
NJH      5/12/2020   $425   0.4   $170     issues.
TGS      5/13/2020   $350   1.3   $455     Further work on tax claim amendments.
TGS      5/19/2020   $350   1.2   $420     Prepare monthly report.
MEP      5/19/2020   $150   0.2   $30      Draft April monthly operating report.
TGS      5/20/2020   $350   0.2   $70      Telephone conference with N. Henderson regarding claim objection.
                                           Telephone call from P. Ferreira regarding taxes and worker's comp issues; email to client
NJH      5/27/2020   $425   0.3   $128     regarding same.
NJH      6/1/2020    $425   0.2   $85      Review email from client regarding Worker's Compensation notice.
NJH      6/2/2020    $425   0.2   $85      Email from R. Textor regarding tax returns; email to client regarding same.

                                           Conference with T. Sexton regarding reporting (0.2); emails from/to R. Goss regarding revised
                                           note, land sale proceeds, and insurance (0.2); email to K. Bauer at Country Insurance regarding
                                           proof of coverage (0.2); telephone call to R. Textor regarding tax returns and payroll issues (0.2);
                                           email to R. Textor regarding same (0.1); email to client regarding payments to Trustee, and
NJH      6/10/2020   $425   1.1   $468     regarding insurance coverage (0.1); email from D. Dubois regarding milk check assignment (0.1).
                                           Prepare monthly operating report (1.2); telephone conference with N. Henderson regarding
TGS      6/10/2020   $350   1.5   $525     issues with same (0.3).
                                           Emails to/from E. Silva regarding tax returns and employee issues (0.2); telephone call from K.
                                           Bauer regarding proof of insurance (0.2); telephone call from R. Goss regarding amended plan
NJH      6/12/2020   $425   0.9   $383     and changes to note (0.5).

TGS      6/15/2020   $350   0.7   $245     Finalize monthly operating report (0.4); telephone conference with E. Silva regarding same (0.3).
                                           Email from V. Burdette regarding update; email to E. Silva regarding same, and regarding payroll
NJH      6/16/2020   $425   0.2   $85      tax questions from IRS.
                                           Telephone call from M. Whaley regarding plan status and reduced payments; email to R. Goss
NJH      6/29/2020   $425   0.5   $213     regarding insurance; draft email to client regarding plan and payment amounts.
NJH      7/3/2020    $425   0.4   $170     Telephone call to client regarding tax issues, amended plan.
NJH      7/8/2020    $425   0.4   $170     Telephone call from C. Coyle regarding default issues; email to client regarding same.
                                           Emails with Farm Credit regarding claim payments and amended plan claim treatment; analyze
TGS      7/9/2020    $350   0.4   $140     same.
TGS      7/10/2020   $350   0.9   $315     Prepare monthly operating report.
                                           Review files from P. Ferreira regarding taxes (0.3); review Code provisions regarding tax claims
NJH      7/13/2020   $425   0.8   $340     (0.3); email to R. Textor regarding returns (0.2).
                                           Emails from/to R. Goss regarding plan, insurance information, reporting information and
                                           payments (0.4); email from E. Paestch regarding update, and telephone call to E. Paetsch
NJH      8/4/2020    $425   0.6   $255     regarding same (0.2).
TGS      8/10/2020   $350   1.1   $385     Prepare monthly operating report and associated accounting.
MEP      8/10/2020   $150   0.1   $15      Finalize monthly operating report; email to trustee regarding the same.


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                                         Review claims and continue drafting amended plan (1.4); emails from/to R. Goss regarding same
NJH     8/12/2020    $425   1.8   $765   (0.2); email to V. Burdette regarding payment ledger (0.2).
                                         Emails from/to R. Goss regarding Chapter 12 trustee accounting; complete account authorization
NJH     8/14/2020    $425   0.5   $213   application and email to V. Burdette regarding same.
                                         Telephone call to R. Goss regarding amended promissory note; continue revisions to Amended
NJH     8/27/2020    $425   0.5   $213   Plan.

                                         Emails with state regarding worked compensation fine claims (0.4); analyze penalty reduction
TGS     8/31/2020    $350   1.5   $525   options and necessary information (0.8); emails with accountant regarding same (0.3).
                                         Emails with accountant regarding workers comp claims (.02); analyze OAR's regarding reduction
TGS     9/1/2020     $350   0.9   $315   issues (0.2); analyze case law regarding good cause issues (0.5).
                                         Continue preparation of Amended Chapter 12 Plan (1.1); telephone call to C. Coyle regarding
NJH     9/3/2020     $425   1.5   $638   same (0.4)
TGS     9/4/2020     $350   0.9   $315   Analyze penalty reduction regulations (0.6); draft email to state arguing same (0.3).
                                         Telephone call to client regarding payroll tax returns, potential business expansion, amended
NJH     9/9/2020     $425   0.4   $170   plan.
TGS     9/9/2020     $350   1.8   $630   Prepare monthly operating report.
MEP     9/9/2020     $150   0.1   $15    Provide notice to parties of amended plan.
NJH     9/10/2020    $425   0.2   $85    Email to R. Textor regarding tax returns.

                                         Review email from R. Goss regarding payments and amended plan (0.2); emails to/from client
                                         regarding potential loan and barn expansion (0.2); telephone call from P. Ferreira regarding
                                         payroll tax issues and EFTPS (0.2); review letter and tax documents from client (0.2); email to R.
                                         Textor regarding same (0.2); draft letter to R. Textor with payroll tax returns (0.2); draft email
NJH     9/14/2020    $425   1.4   $595   response to R. Goss regarding plan, potential loan and barn expansion (0.2).
                                         Emails from/to R. Goss regarding plan and loan request; email to P. Ferreira regarding payroll
                                         documentation for Workers Compensation dispute; review Trustee accounting information;
NJH     9/15/2020    $425   0.4   $170   email to R. Goss regarding same.
                                         Review email and attachment from R. Goss regarding revised promissory note (0.3); revise
                                         Amended Chapter 12 Plan (0.4); email to client regarding Amended Plan and Revised Note (0.2);
                                         email to R. Goss regarding same (0.1); email to T. Schleicher regarding Amended Plan (0.2);
NJH     9/21/2020    $425   1.4   $595   coordinate with staff regarding filing and service (0.2).
NJH     9/23/2020    $425   0.2   $85    Telephone call from B. Sargent regarding amended plan.
                                         Analyze payroll info from accountant and compare with previously prepared and sent
TGS     9/28/2020    $350   0.4   $140   information; emails with state regarding same.
                                         Review email from accountant regarding employee summary; email to T. Sexton regarding
NJH     9/29/2020    $425   0.2   $85    worker's compensation issues.

TGS     10/1/2020    $350   0.4   $140   Emails with bookkeeper and state regarding workers compensation fine payment issues.
NJH     10/2/2020    $425   0.4   $170   Telephone call from C. Coyle regarding plan issues; email from C. Coyle regarding same.
MEP     10/12/2020   $150   0.1   $15    Finalize September monthly report; email trustee regarding the same.
TGS     10/12/2020   $350   0.9   $315   Prepare monthly operating report.
                                         Emails from/to E. Paetsch regarding changes to plan (0.1); email to M. Whaley regarding same;
                                         draft additional edits to Amended PLan (1.0); email to client regarding same (0.2); email to J.
                                         Ayres regarding same (0.2); email to C. Coyle regarding same (0.2); email to V. Burdette regarding
NJH     10/13/2020   $425   1.9   $808   same (0.2).
MEP     10/13/2020   $150   0.2   $30    Draft Withdrawal of Document; execute service of amended plan.
                                         Continue drafting supplemental application for compensation; begin draft of Schedule A to
MEP     10/23/2020   $150   0.4   $60    include with application.
                                         Review fee entries (0.4); draft revisions to supplemental application for compensation and
MEP     10/26/2020   $150   0.9   $135   Schedule A (0.5).
                                         Revise supplemental fee application to reflect fees incurred through the end of October; update
MEP     11/3/2020    $150   0.3   $45    exhibits to reflect the same.
MEP     11/5/2020    $150   0.3   $45    Revise fee entries; inquire with N. Henderson regarding the same.
TGS     11/6/2020    $350   0.8   $280   Work on monthly operating report.
TGS     11/9/2020    $350   0.9   $315   Finalize monthly operating report.
MEP     11/10/2020   $150   0.1   $15    Email and phone calls to DCBS regarding demand for payment.
MEP     11/18/2020   $150   0.1   $15    Email to client regarding payment of DCBS penalty.
NJH     11/30/2020   $425   0.3   $128   Telephone call from P. Ferreira regarding payroll and property tax questions.
                                         Telephone call from M. Whaley regarding plan payments and disbursements to Diversified; email
NJH     12/2/2020    $425   0.2   $85    to M. Whaley regarding trustee disbursement report.

MEP     12/3/2020    $150   0.8   $120   Revise supplemental fee application per N. Henderson; compile exhibits and finalize for review.


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MEP       12/7/2020    $150   0.2    $30       Finalize fee entry exhibit to supplemental fee application.
TGS       12/9/2020    $350   1.1    $385      Work on monthly operating report.
TGS       12/10/2020   $350   1.8    $630      Finalize monthly operating report.
NJH       12/12/2020   $425   0.5    $213      Review and revise motion to compel and related declaration of N. Henderson.
TOTALS:                       87.7   $34,485




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Date: 12/03/2020                                         Detail Cost Transaction File List                                                   Page: 1
                                                          Motschenbacher & Blattner LLP

                                     Trans
                                      Date     Tmkr     Amount
Client ID 4535.002 Silva/Eric
                                03/16/2020        11     336.80    BK Attorney Services; mailing services
                                03/20/2020        11      31.00    United States Bankruptcy Court; advanced filing fee
                                03/31/2020        11       9.90    Photocopies
                                03/31/2020        11      17.64    Color photocopies
                                03/31/2020        11      38.37    Westlaw; legal research
                                03/31/2020        11      24.10    PACER; court access
                                04/01/2020        11     176.65    BK Attorney Services; mailing services
                                04/13/2020        11     211.55    BK Attorney Services; bankruptcy mailing services
                                04/30/2020        11      12.50    PACER; court access
                                05/31/2020        11       0.90    PACER; court access
                                08/31/2020        11       4.60    PACER; court access
                                09/21/2020        11     394.90    BK Attorney Services; bankruptcy mailing services
                                09/30/2020        14      11.70    Postage
                                10/14/2020        11     394.90    BK Attorney Services; mailing services

Total for Client ID 4535.002                 Billable   1,665.51 Silva/Eric
                                                                 Chapter 12 Bankruptcy (Post-Petition)

                                                                   GRAND TOTALS

                                             Billable   1,665.51




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MEP                                                                                                                      Thursday 12/03/2020 10:54 am
